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                                                                 1   Ann Marie Mortimer (State Bar No. 169077)
                                                                     amortimer@HuntonAK.com
                                                                 2
                                                                     Jason J. Kim (State Bar No. 221476)
                                                                 3   kimj@HuntonAK.com
                                                                 4   HUNTON ANDREWS KURTH LLP
                                                                     550 South Hope Street, Suite 2000
                                                                 5   Los Angeles, California 90071-2627
                                                                 6   Telephone: (213) 532-2000
                                                                     Facsimile: (213) 532-2020
                                                                 7
                                                                 8   Attorneys for Plaintiffs
                                                                     FACEBOOK, INC. and INSTAGRAM, LLC
                                                                 9
                                                                10                        UNITED STATES DISTRICT COURT
                                                                11                     NORTHERN DISTRICT OF CALIFORNIA
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                12                            SAN FRANCISCO DIVISION
                                                                13   FACEBOOK, INC., a Delaware               CASE NO.: 3:19-cv-02262
                                                                14   corporation and INSTAGRAM, LLC, a
                                                                     Delaware limited liability company,      COMPLAINT; DEMAND FOR JURY
                                                                15                                            TRIAL
                                                                16              Plaintiffs,

                                                                17        v.
                                                                18
                                                                     AREND NOLLEN, LEON HEDGES,
                                                                19   DAVID PASANEN, and SOCIAL
                                                                20   MEDIA SERIES LIMITED,

                                                                21              Defendants.
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                                                                                              COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1         Plaintiffs Facebook, Inc. (“Facebook”) and Instagram, LLC (“Instagram”), allege
                                                                 2   the following:
                                                                 3                                    INTRODUCTION
                                                                 4         1.     Since at least July 9, 2018, to the present, Defendants Arend Nollen, Leon
                                                                 5   Hedges, David Pasanen, and Social Media Series Limited, have operated an unlawful
                                                                 6   business using the website Likesocial.co. Defendants’ business artificially inflates the
                                                                 7   “likes,” “views,” and “followers” of Instagram accounts (known as “fake
                                                                 8   engagement”). Defendants use a network of computers or “bots” and Instagram
                                                                 9   accounts to deliver automated likes to their customers’ Instagram accounts, in violation
                                                                10   of Instagram’s Terms of Use (“TOU”), Community Guidelines, and California and
                                                                11   federal law. Through their business, Defendants interfered and continue to interfere
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                                                                12   with Instagram’s service, create an inauthentic experience for Instagram users, and
                                                                13   attempt to fraudulently influence Instagram users for their own enrichment. Facebook
                                                                14   and Instagram bring this action for injunctive relief to stop any continued and future
                                                                15   misuse of its platform by Defendants in violation of Instagram’s TOU and Community
                                                                16   Guidelines. Facebook and Instagram also bring this action to obtain compensatory,
                                                                17   punitive, and exemplary damages under California Penal Code § 502 and the Computer
                                                                18   Fraud and Abuse Act, 18 U.S.C. § 1030.
                                                                19                                         PARTIES
                                                                20         2.     Plaintiff Facebook is a Delaware corporation with its principal place of
                                                                21   business in Menlo Park, California.
                                                                22         3.     Plaintiff Instagram is a Delaware limited liability company with its
                                                                23   principal place of business in Menlo Park, California. Instagram is a subsidiary of
                                                                24   Facebook.
                                                                25         4.     Defendant Nollen is a resident of Upper Hutt, New Zealand. Exhibit 1.
                                                                26         5.     Defendants Hedges and Pasanen are residents of Lower Hutt, New
                                                                27   Zealand. Exhibits 2 and 3.
                                                                28
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                                                                 1         6.     Defendant Social Media Series Limited (“Social Media Series”) is a New
                                                                 2   Zealand limited liability company. Exhibit 4.
                                                                 3         7.     On or about January 8, 2016, Defendants Nollen, Hedges, and Pasanen
                                                                 4   incorporated and registered Social Media Series as a New Zealand limited company.
                                                                 5   Exhibits 4 and 5. Defendants Nollen, Hedges, and Pasanen each own 33% of Social
                                                                 6   Media Series. Exhibits 5-8. And each Defendant has served in the role of Director of
                                                                 7   Social Media Series since January 8, 2016. Exhibits 1-5. According to corporate
                                                                 8   registration documents, the company has an office located at 9 McCarthy Grove,
                                                                 9   Clouster Park, Upper Hutt, 5018 New Zealand. Exhibit 4.
                                                                10         8.     Since on or about July 9, 2018, Defendants controlled and operated the
                                                                11   website Likesocial.co through Social Media Series Limited.
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                                                                12         9.     At all times material to this action, each Defendant was the agent,
                                                                13   employee, partner, alter ego, subsidiary, or coconspirator of and with the other
                                                                14   Defendants, and the acts of each Defendant were in the scope of that relationship. In
                                                                15   doing the acts and failing to act as alleged in this Complaint, each Defendant acted with
                                                                16   the knowledge, permission, and the consent of each of the other Defendants; and, each
                                                                17   Defendant aided and abetted the other Defendants in the acts or omissions alleged in
                                                                18   this Complaint.
                                                                19                              JURISDICTION AND VENUE
                                                                20         10.    The Court has federal question jurisdiction over the federal causes of
                                                                21   action alleged in this Complaint pursuant to 28 U.S.C. § 1331.
                                                                22         11.    The Court has supplemental jurisdiction over the state law causes of action
                                                                23   alleged in this Complaint pursuant to 28 U.S.C. § 1367 because these claims arise out
                                                                24   of the same nucleus of operative fact as Facebook and Instagram’s federal claim.
                                                                25         12.    In addition, the Court has jurisdiction over all the causes of action alleged
                                                                26   in this Complaint pursuant to 28 U.S.C. § 1332 because complete diversity between the
                                                                27   Plaintiffs and each of the named Defendants exists, and because the amount in
                                                                28   controversy exceeds $75,000.
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1         13.    The Court has personal jurisdiction over Defendants because each
                                                                 2   Defendant personally used Instagram, their business used thousands of Instagram
                                                                 3   accounts, and, accordingly, they agreed to Instagram’s TOU. Instagram’s TOU require
                                                                 4   Defendants to submit to the personal jurisdiction of this Court for litigating any claim,
                                                                 5   cause of action, or dispute with Instagram.
                                                                 6         14.    In addition, the Court has personal jurisdiction because Defendants
                                                                 7   knowingly directed their actions at Facebook and Instagram, which have their principal
                                                                 8   place of business in California. For example, Defendants’ entire business model
                                                                 9   depends on accessing and using Instagram in order to artificially manipulate Instagram
                                                                10   accounts in exchange for money.
                                                                11         15.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b),
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                                                                12   as the threatened and actual harm to Facebook and Instagram occurred in this District.
                                                                13   Venue is also proper with respect to each of the Defendants pursuant to
                                                                14   28 U.S.C. §1391(c)(3) because none of the Defendants resides in the United States.
                                                                15         16.    Pursuant to Civil L.R. 3-2(c), this case may be assigned to the San
                                                                16   Francisco Division because Facebook and Instagram are located in San Mateo County.
                                                                17                               FACTUAL ALLEGATIONS
                                                                18         A.     Background on Instagram and Facebook
                                                                19         17.    Facebook is a social networking website and mobile application that
                                                                20   enables its users to create their own personal profiles and connect with each other on
                                                                21   their personal computers and mobile devices. As of December 2018, Facebook daily
                                                                22   active users averaged 1.52 billion and monthly active users averaged 2.32 billion,
                                                                23   worldwide. Facebook has several products, including Instagram.
                                                                24         18.    Instagram is a photo and video sharing service, mobile application, and
                                                                25   social network. Instagram users can post photos and videos to their profile. They can
                                                                26   also view, comment on, and like posts shared by others on Instagram. As of June 2018,
                                                                27   Instagram had over one billion active accounts.
                                                                28
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                                                                 1         19.    When an Instagram user posts a photo, other Instagram users can view the
                                                                 2   photo and choose to “like” it. For private accounts, followers of the account can see the
                                                                 3   post. For public accounts, anyone can see the post. When a photo is liked, that like can
                                                                 4   be seen by anyone who can see the post. For marketing and other commercial purposes,
                                                                 5   certain Instagram users strive to increase the number of followers, views, and likes they
                                                                 6   receive to increase their visibility and popularity on Instagram.
                                                                 7         20.    Instagram users can gain followers, views, and likes, but only from other
                                                                 8   registered Instagram users. If a visitor to Instagram does not have an Instagram account
                                                                 9   and tries to like a post, the visitor is redirected to the Instagram login page to enter their
                                                                10   Instagram credentials or to create a new Instagram account.
                                                                11         21.    Everyone who uses Instagram agrees to Instagram’s TOU1 and other rules
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                                                                12   that govern access to and use of Instagram, including Instagram’s Community
                                                                13   Guidelines.2 The Instagram TOU state that because Instagram is a Facebook product,
                                                                14   the Instagram TOU constitute an agreement between the Instagram users and
                                                                15   Facebook.3
                                                                16         22.    Since at least April 2018, Instagram’s TOU prohibit users from (a)
                                                                17   “do[ing] anything unlawful, misleading, or fraudulent or for an illegal or unauthorized
                                                                18   purpose;” (b) “interfering or impairing the intended operation of [Instagram];” (c)
                                                                19   “[a]ttempt[ing] to buy, sell, or transfer any aspect of [an Instagram] account;” (d)
                                                                20   “creating accounts or collecting information in an automated way . . . ;” and (e) “violate
                                                                21   (or help or encourage others to violate) [Instagram] terms or their policies including the
                                                                22   Instagram Community Guidelines.”
                                                                23         23.    In addition, Instagram’s Community Guidelines prohibit users from
                                                                24   artificially collecting positive account attributes (i.e., likes, followers, and shares).
                                                                25
                                                                26   1
                                                                       Instagram TOU can be found at https://help.instagram.com/581066165581870.
                                                                27   2
                                                                       Instagram Community Guidelines can be found at
                                                                     https://help.instagram.com/477434105621119.
                                                                28   3
                                                                       See https://help.instagram.com/581066165581870.
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                                                                 1            B.    Facebook and Instagram’s Past Enforcement Actions against
                                                                 2                  Defendants
                                                                 3            24.   Since on or about July 23, 2015, Defendants have operated various
                                                                 4   websites offering fake engagement services including SocialEnvy.co, IGFamous.net,
                                                                 5   and Likesocial.co. Facebook and Instagram have taken multiple enforcement actions
                                                                 6   against Defendants for violating Instagram’s TOU and Community Guidelines,
                                                                 7   including sending cease and desist letters and disabling Instagram accounts associated
                                                                 8   with Defendants and their websites.
                                                                 9                  1.    SocialEnvy.co and IGFamous.net
                                                                10            25.   According to corporate records, in 2015, Defendants Nollen and Hedges
                                                                11   were the sole and equal shareholders of an entity called Social Envy Limited. Exhibits
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                                                                12   9-11. Social Envy Limited was incorporated and registered as a New Zealand Limited
                                                                13   Company. Exhibit 9. Social Envy Limited is registered at 9 McCarthy Grove, Clouster
                                                                14   Park, Upper Hutt, 5018 NZ, which is the same address used by Social Media Series.
                                                                15   Exhibits 4 and 9.
                                                                16            26.   Between July 23, 2015, and February 2018, Defendants Nollen and Hedges
                                                                17   controlled and operated the website SocialEnvy.co4 through Social Envy Limited.
                                                                18   SocialEnvy.co sold artificial Instagram views and other fake engagement services.
                                                                19   Exhibits 12 and 13.
                                                                20            27.   Between December 2, 2015, and February 2018, Defendants Nollen and
                                                                21   Hedges controlled and operated the website IGFamous.net through Social Envy
                                                                22   Limited. IGFamous.net sold artificial Instagram likes and other fake engagement
                                                                23   services. Exhibit 14.
                                                                24            28.   On February 20, 2018, Facebook and Instagram sent a cease and desist
                                                                25   letter to Defendants Nollen and Hedges for operating SocialEnvy.co and IGFamous.net.
                                                                26   Exhibit 15.      At that time, Instagram also disabled multiple Instagram accounts
                                                                27
                                                                28   4
                                                                         Socialenvy.co is presently operated by individuals unassociated with Defendants.
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                                                                 1   associated with SocialEnvy.co and Defendants Nollen and Hedges. Some of those
                                                                 2   accounts had been used by Defendants Nollen, Hedges, and Pasanen.
                                                                 3             29.   In the February 20, 2018 cease and desist letter, Facebook and Instagram
                                                                 4   demanded that Defendants Hedges and Nollen stop violating Instagram’s TOU,
                                                                 5   including:
                                                                 6          Misleading Instagram users;
                                                                 7          Creating false or duplicate profiles;
                                                                 8          Collecting user credentials;
                                                                 9          Automating interactions between profiles that have no prior
                                                                10               relationship;
                                                                11          Facilitating or encouraging others to violate Instagram’s [TOU].
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                                                                12   The February 20, 2018 cease and desist letter also informed Defendants that their
                                                                13   actions may have violated state and federal laws, including Computer Fraud and Abuse
                                                                14   Act, 18 U.S.C. § 1030, and California Comprehensive Computer Data Access and Fraud
                                                                15   Act, Cal. Penal Code § 502(c).
                                                                16             30.   After receiving the February 20, 2018 cease and desist letter, Defendants
                                                                17   stopped offering fake engagement services on Socialenvy.co and IGFamous.net but
                                                                18   began selling fake engagement services on other websites, including Likesocial.co.
                                                                19                   2.     Likesocial.co
                                                                20             31.   Since on or about July 9, 2018, Defendants controlled and operated the
                                                                21   website Likesocial.co through Social Media Series.
                                                                22             32.   On December 18, 2018, Facebook and Instagram sent a cease and desist
                                                                23   letter to Defendants Nollen and Hedges for offering fake engagement services through
                                                                24   Likesocial.co. Exhibit 16. The December 2018 letter referenced the February 20, 2018
                                                                25   letter:
                                                                26             We first contacted you on February 20, 2018 demanding that you stop
                                                                               selling Instagram Followers and Likes through your websites
                                                                27             SocialEnvy.co and IGFamous.net. Facebook is aware that you have
                                                                               continued your improper activities through your current websites including
                                                                28             but not limited to, LikeSocial.co, Social10x.com, smseries.co.nz, and
                                                                               SocialSteeze.net, where you continue to sell services that automate actions
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                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1         on Instagram including, followers, likes, and views.         This violates
                                                                           Instagram’s terms of service.
                                                                 2
                                                                 3   In the December 2018 letter, Facebook and Instagram again demanded that Defendants
                                                                 4   stop abusing Instagram and violating Instagram’s TOU. Facebook and Instagram
                                                                 5   advised Defendants that their conduct may have violated the California Penal Code §
                                                                 6   502(c) and 18 U.S.C. § 1030. Facebook and Instagram also revoked Defendants’ access
                                                                 7   to Facebook and Instagram at that time and told Defendants that “you, your agents,
                                                                 8   employees, affiliates, or anyone acting on your behalf . . . may not access the Facebook
                                                                 9   or Instagram websites, Platforms, or networks for any reason whatsoever.”
                                                                10         33.    In addition, Facebook and Instagram have taken other enforcement actions
                                                                11   against Defendants, including blocking millions of artificial likes originating from
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                                                                12   Defendants’ service and disabling accounts associated with Defendants.
                                                                13         34.    In response to Facebook and Instagram’s past enforcement actions,
                                                                14   Defendants attempted to conceal their association with the website Likesocial.co. For
                                                                15   example, in the terms of service for Likesocial.co affiliates, Defendants used the
                                                                16   company name “New Zealand Like Social LLC.” Exhibit 17. In fact, no such company
                                                                17   is registered in New Zealand. Defendants also used a domain privacy service to register
                                                                18   the domain Likesocial.co.
                                                                19         C.     Defendants Used an Automated Process, Bots, and Instagram
                                                                20                Accounts to Artificially Inflate Instagram Users’ Likes and Interfere
                                                                21                with Instagram’s Service and Computer Network
                                                                22         35.    Since July 2018 and continuing to the present, Defendants have marketed
                                                                23   their fake engagement services and conducted financial transactions with their
                                                                24   customers on the website Likesocial.co. Exhibits 18 and 19. Defendants offered
                                                                25   “automatic Instagram likes” using a “system [that] monitors your Instagram account
                                                                26   24/7 and detects your latest posts within seconds. Instagram Likes start delivering to
                                                                27   your post immediately after it is detected.” Exhibit 20.
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                                                                 1         36.    Defendants charge a fixed weekly price for their fake engagement services.
                                                                 2   The cost of the service depends on the number of automatic likes being purchased and
                                                                 3   ranges from $10 to $99 per week. The image shown below lists Defendants’ pricing
                                                                 4   structure as of March 19, 2019, (Exhibit 19), from their website Likesocial.co:
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                                                                17         37.    Defendants used PayPal to accept payments for their services. The PayPal
                                                                18   account used to receive payments from customers was in the name of Social Media
                                                                19   Series. Exhibits 21 and 22.
                                                                20         38.    Defendants used a network of bots and Instagram accounts that they
                                                                21   controlled to deliver millions of automated likes to their customers. Some of the
                                                                22   Instagram accounts controlled by Defendants were responsible for tens of thousands of
                                                                23   likes on a daily basis.
                                                                24         39.    For example, on November 28, 2018, after purchasing 500 likes on
                                                                25   Likesocial.co, an Instagram user posted a photo of an empty gym on their Instagram
                                                                26   account. Although the account had no followers and the photo had no comments, the
                                                                27   photo received approximately 500 likes within seconds. All the likes came from
                                                                28
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1   Defendants’ network of Instagram accounts using two internet service providers located
                                                                 2   in Turkey.
                                                                 3         40.       Between on or about March 14, 2019 and March 22, 2019, multiple photos
                                                                 4   were posted by the same Likesocial.co customer.           Although the account had no
                                                                 5   followers and the photos had no comments, each photo received between 500 and 600
                                                                 6   likes shortly after the photos were posted. Defendants used a network of thousands of
                                                                 7   Instagram accounts to deliver these likes.
                                                                 8         D.        Defendants Unjustly Enriched Themselves and Their Unlawful Acts
                                                                 9                   Have Caused Damage and a Loss to Facebook and Instagram
                                                                10         41.       Defendants’ breaches of Instagram’s TOU and Community Guidelines
                                                                11   have caused Facebook and Instagram substantial harm. Defendants interfered and
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                                                                12   continue to interfere with Instagram’s service and burden Facebook and Instagram’s
                                                                13   computer network. Moreover, Defendants created and continue to create an inauthentic
                                                                14   experience for Instagram users who used, viewed, and relied on Defendants’ fake
                                                                15   engagement services, thus damaging Instagram’s brand.
                                                                16         42.       Defendants’ actions injured Facebook and Instagram’s reputation, public
                                                                17   trust, and goodwill.
                                                                18         43.       Facebook and Instagram have suffered damages attributable to the efforts
                                                                19   and resources it has used to address this Complaint, investigate and mitigate
                                                                20   Defendants’ illegal conduct, and attempt to identify, analyze, and stop their fraudulent
                                                                21   and injurious activities.
                                                                22         44.       Since July 2018, Defendants unjustly enriched themselves at the expense
                                                                23   of Facebook and Instagram in the amount of approximately $9,430,000.
                                                                24                                 FIRST CAUSE OF ACTION
                                                                25                                      (Breach of Contract)
                                                                26         45.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                27   forth herein.
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                                                                                                 COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1         46.     Each individual Defendant created a personal Instagram account and
                                                                 2   agreed to Instagram’s TOU and Community Guidelines. The Instagram service is
                                                                 3   owned and operated by Facebook, Inc. Since April 2018, the Instagram TOU have
                                                                 4   stated that Instagram is a Facebook product and that the Instagram TOU constitute an
                                                                 5   agreement between Instagram users and Facebook.
                                                                 6         47.     In addition, since at least July 2018, Defendants used thousands of
                                                                 7   Instagram accounts to provide their services, which were also governed by Instagram’s
                                                                 8   TOU and Community Guidelines. Because Defendants’ unlawful business used and
                                                                 9   targeted Instagram users, each Defendant agreed to Instagram’s TOU and Community
                                                                10   Guidelines.
                                                                11         48.     Social Media Series, through the website Likesocial.co, continually used
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                                                                12   Instagram and caused it to be accessed and used to conduct Defendants’ fraudulent
                                                                13   business. As the shareholders and Directors of Social Media Services, which operates
                                                                14   the website Likesocial.co, each individual Defendant was bound by Instagram’s TOU
                                                                15   and Community Guidelines.
                                                                16         49.     Despite each Defendant’s agreement to Instagram’s TOU and Community
                                                                17   Guidelines, they repeatedly breached them. Not only did Defendants and their fake
                                                                18   engagement service violate Instagram’s TOU and Community Guidelines, they have
                                                                19   helped other Instagram users violate them—itself a violation of the TOU and
                                                                20   Community Guidelines.
                                                                21         50.     Defendants breached Instagram’s TOU and Community Guidelines by
                                                                22   taking the actions described above, including by accessing Instagram to fraudulently
                                                                23   and artificially inflate the likes associated with certain Instagram accounts using
                                                                24   thousands of other Instagram accounts, all in an attempt to influence other Instagram
                                                                25   users and enrich themselves while damaging Facebook and Instagram.
                                                                26         51.     Facebook and Instagram have performed all conditions, covenants, and
                                                                27   promises required of it in accordance with its agreements with Defendants.
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                                                                 1           52.     Defendants’ many breaches have caused Facebook and Instagram to incur
                                                                 2   damages in the amount of at least $9,430,000, in addition to an amount to be determined
                                                                 3   at trial.
                                                                 4                                SECOND CAUSE OF ACTION
                                                                 5                                  (California Penal Code § 502)
                                                                 6           53.     Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                 7   forth herein.
                                                                 8           54.     Defendants knowingly accessed and without permission otherwise used
                                                                 9   Facebook and Instagram’s data, computers, computer system, and computer network in
                                                                10   order to (A) devise or execute any scheme or artifice to defraud and deceive, and (B) to
                                                                11   wrongfully control or obtain money, property, or data, in violation of California Penal
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                                                                12   Code § 502(c)(1).
                                                                13           55.     Defendants knowingly and without permission used or caused to be used
                                                                14   Facebook and Instagram’s computer services in violation of California Penal Code
                                                                15   § 502(c)(3).
                                                                16           56.     By artificially inflating certain Instagram users’ likes and impairing the
                                                                17   intended operation of Instagram, Defendants knowingly and without permission
                                                                18   disrupted or caused the disruption of computer services of Facebook and Instagram’s
                                                                19   computers, computer systems, and/or computer networks in violation of California
                                                                20   Penal Code § 502(c)(5).
                                                                21           57.     Defendants knowingly and without permission accessed and caused to be
                                                                22   accessed Facebook and Instagram’s computers, computer systems, and/or computer
                                                                23   networks in violation of California Penal Code § 502(c)(7). Defendants accessed
                                                                24   Facebook and Instagram’s computer network after Facebook and Instagram disabled
                                                                25   their Instagram accounts, and sent cease and desist letters to the Defendants revoking
                                                                26   their access.
                                                                27           58.     Because Facebook and Instagram suffered damages and a loss as a result
                                                                28   of Defendants’ actions and continues to suffer damages as result of Defendant’s actions,
                                                                                                                  11
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                                                                 1   Facebook and Instagram are entitled to compensatory damages, in the amount of at least
                                                                 2   $9,430,000, attorney fees, and any other amount of damages proven at trial, and
                                                                 3   injunctive relief under California Penal Code § 502(e)(1) and (2).
                                                                 4         59.       Because Defendants willfully violated California Penal Code § 502, and
                                                                 5   there is clear and convincing evidence that Defendants committed “fraud” as defined
                                                                 6   by section 3294 of the Civil Code, Facebook and Instagram are entitled to punitive and
                                                                 7   exemplary damages under California Penal Code § 502(e)(4).
                                                                 8                                THIRD CAUSE OF ACTION
                                                                 9                       (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                                                10         60.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                11   forth herein.
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                                                                12         61.       Defendants’ access and use of Facebook and Instagram’s computers and
                                                                13   computer systems was unauthorized because Defendants accessed Facebook and
                                                                14   Instagram’s computer network after Facebook and Instagram disabled their Instagram
                                                                15   accounts and sent cease and desist letters to Defendants revoking their access.
                                                                16         62.       Facebook and Instagram computers and servers are protected computers as
                                                                17   defined by 18 U.S.C. § 1030(e)(2).
                                                                18         63.       Defendants violated 18 U.S.C. § 1030(a)(4) because they knowingly and
                                                                19   with intent to defraud accessed Facebook and Instagram-protected computers by
                                                                20   sending unauthorized commands to Facebook and Instagram computers. Defendants
                                                                21   sent the commands to Facebook and Instagram computers to manipulate Instagram’s
                                                                22   service by fraudulently inflating likes of certain Instagram accounts. Defendants did
                                                                23   these acts in exchange for profit.
                                                                24         64.       Defendants violated 18 U.S.C. § 1030(a)(5)(A) because they knowingly
                                                                25   and intentionally caused the transmission of a program, information, code, or command,
                                                                26   and, as a result of such conduct, intentionally damaged Facebook and Instagram-
                                                                27   protected computers.
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                                                                 1         65.       Defendants violated 18 U.S.C. § 1030(a)(5)(B) by intentionally accessing
                                                                 2   a protected computer without authorization, and, as a result of such conduct, recklessly
                                                                 3   causing damage to Facebook and Instagram-protected computers.
                                                                 4         66.       Defendants violated 18 U.S.C. § 1030(a)(5)(C) by intentionally accessing
                                                                 5   a protected computer without authorization, and, as a result of such conduct, causing
                                                                 6   damage to Facebook and Instagram-protected computers and a loss.
                                                                 7         67.       Defendants violated 18 U.S.C. § 1030(b) by conspiring or attempting to
                                                                 8   commit the violation alleged in the preceding paragraph.
                                                                 9         68.       Defendants’ conduct has caused a loss to Facebook and Instagram during
                                                                10   a one-year period in excess of $5,000.
                                                                11         69.       Defendants’ actions caused Facebook and Instagram to incur losses and
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                                                                12   other economic damages, including, among other things, the expenditure of resources
                                                                13   to investigate and respond to Defendants’ fraudulent scheme. Facebook and Instagram
                                                                14   are entitled to be compensated for losses and damages in the amount of at least
                                                                15   $9,430,000, and any other amount proven at trial.
                                                                16         70.       Facebook and Instagram have no adequate remedy at law that would
                                                                17   prevent Defendants from continuing their unlawful scheme. Permanent injunctive relief
                                                                18   is therefore warranted.
                                                                19                               FOURTH CAUSE OF ACTION
                                                                20                                      (Unjust Enrichment)
                                                                21         71.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                22   forth herein.
                                                                23         72.       Defendants’ acts as alleged herein constitute unjust enrichment of the
                                                                24   Defendants at Facebook and Instagram’s expense.
                                                                25         73.       Defendants accessed and used, without authorization or permission,
                                                                26   Facebook and Instagram’s service, platform, and computer network, all of which belong
                                                                27   to Facebook and Instagram.
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                                                                                                 COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1         74.    Defendants used Facebook and Instagram’s service, platform, and
                                                                 2   computer network to, among other things, defraud and deceive Instagram users,
                                                                 3   artificially inflate certain Instagram users’ likes, impair the intended operation of
                                                                 4   Instagram, interfere with Instagram’s service, platform, and computer network, and
                                                                 5   wrongfully obtain money from the operation of their unlawful business.
                                                                 6         75.    Defendants received a benefit by profiting off of their unauthorized use of
                                                                 7   Facebook and Instagram’s service, platform, and computer network.
                                                                 8         76.    Defendants’ retention of the profits derived from their unauthorized use of
                                                                 9   Facebook and Instagram’s service, platform, and computer network would be unjust.
                                                                10         77.    Defendants’ unauthorized use of Facebook and Instagram’s service,
                                                                11   platform, and computer network has injured Facebook and Instagram’s reputation,
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                                                                12   public-trust, and goodwill.
                                                                13         78.    Defendants’ unauthorized use of Facebook and Instagram’s service,
                                                                14   platform, and computer network has damaged Facebook and Instagram, including but
                                                                15   not limited to the time and money spent investigating and mitigating Defendants’
                                                                16   unlawful conduct.
                                                                17         79.    Facebook and Instagram seek injunctive relief and damages in an amount
                                                                18   to be proven at trial, as well as disgorgement of Defendants’ ill-gotten profits in the
                                                                19   amount of approximately $9,430,000.
                                                                20         80.    As a direct result of Defendants’ unlawful actions, Facebook and
                                                                21   Instagram have suffered and continue to suffer irreparable harm for which there is no
                                                                22   adequate remedy at law, and which will continue unless Defendants’ actions are
                                                                23   enjoined.
                                                                24                                 REQUEST FOR RELIEF
                                                                25         WHEREFORE, Plaintiffs Facebook and Instagram request judgment against
                                                                26   Defendants as follows:
                                                                27         1.     That the Court enter judgment against Defendants that Defendants have:
                                                                28               a. Violated the Computer Fraud and Abuse Act, in violation of
                                                                                                               14
                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1                  18 U.S.C. 1030;
                                                                 2               b. Violated the California Comprehensive Computer Data Access and
                                                                 3                  Fraud Act, in violation of California Penal Code § 502;
                                                                 4               c. Breached Defendants’ contracts with Facebook and Instagram in
                                                                 5                  violation of California law;
                                                                 6               d. Been unjustly enriched at the expense of Facebook and Instagram in
                                                                 7                  violation of California law.
                                                                 8         2.     That the Court enter a permanent injunction enjoining and restraining
                                                                 9   Defendants and their agents, servants, employees, successors, and assigns, and all other
                                                                10   persons acting in concert with or conspiracy with any of them or who are affiliated with
                                                                11   Defendants from:
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                                                                12               a. Accessing or attempting to access Facebook and Instagram’s service,
                                                                13                  platform, and computer systems;
                                                                14               b. Creating or maintaining any Instagram accounts in violation of
                                                                15                  Instagram’s TOU;
                                                                16               c. Engaging in any activity that disrupts, diminishes the quality of,
                                                                17                  interferes with the performance of, or impairs the functionality of
                                                                18                  Facebook and Instagram’s service, platform, and computer systems; and
                                                                19               d. Engaging in any activity, or facilitating others to do the same, that
                                                                20                  violates Instagram’s TOU, Community Guidelines, or other related
                                                                21                  policy referenced herein.
                                                                22         3.     That Facebook and Instagram be awarded damages, including, but not
                                                                23   limited to, compensatory, statutory, and punitive damages, as permitted by law and in
                                                                24   such amounts to be proven at trial.
                                                                25         4.     That Defendants account for, hold in constructive trust, pay over to
                                                                26   Facebook and Instagram, and otherwise disgorge profits derived from Defendants’
                                                                27   unjust enrichment, which is estimated to be $9,430,000.
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                                                                 1         5.     That Facebook and Instagram be awarded its reasonable costs, including
                                                                 2   reasonable attorneys’ fees.
                                                                 3         6.     That Facebook and Instagram be awarded pre- and post-judgment interest
                                                                 4   as allowed by law.
                                                                 5         7.     That the Court grant all such other and further relief as the Court may deem
                                                                 6   just and proper.
                                                                 7
                                                                 8   Dated: April 25, 2019                        HUNTON ANDREWS KURTH LLP
                                                                 9
                                                                10                                                By:        /s/ Ann Marie Mortimer
                                                                                                                           Ann Marie Mortimer
                                                                11
                           Los Angeles, California 90071-2627




                                                                                                                           Jason J. Kim
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                                      Attorneys for Plaintiffs
                                                                13                                                      FACEBOOK, INC. and
                                                                                                                        INSTAGRAM, LLC
                                                                14
                                                                                                                           Jessica Romero
                                                                15                                                         Michael Chmelar
                                                                16                                                         Stacy Chen
                                                                                                                           Platform Enforcement and
                                                                17                                                         Litigation
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                                                                 1                                       JURY TRIAL DEMAND
                                                                 2           Plaintiffs hereby demand a trial by jury on all issues triable to a jury.
                                                                 3
                                                                 4   Dated: April 25, 2019                             HUNTON ANDREWS KURTH LLP
                                                                 5
                                                                 6                                                     By:        /s/ Ann Marie Mortimer
                                                                                                                                Ann Marie Mortimer
                                                                 7
                                                                                                                                Jason J. Kim
                                                                 8                                                           Attorneys for Plaintiffs
                                                                 9                                                           FACEBOOK, INC. and
                                                                                                                             INSTAGRAM, LLC
                                                                10
                                                                                                                                Jessica Romero
                                                                11                                                              Michael Chmelar
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




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